                             Hearing Date and Time: May 20, 2021 at 9:00 a.m. (prevailing Eastern Time)



lan D. Scharf, Esq. (NY Bar No. 4042107)
Gail S. Greenwood, Esq. (Admitted pro hac vice)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777

Counsel to Advisory Trust Group, LLC,
solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust



UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                             )
 IN RE:                                                      )   Chapter 11
                                                             )
 ROCHESTER DRUG CO-OPERATIVE, INC.,                          )   Case No. 20-20230 (PRW)
                                                             )
                               Debtor.                       )
                                                             )

        MOTION OF THE LIQUIDATING TRUSTEE FOR ENTRY OF AN ORDER
     PURSUANT TO BANKRUPTCY CODE SECTION 542 AND BANKRUPTCY RULE
      2004 AUTHORIZING AN ORAL EXAMINATION OF DONALD BILGORE AND
                     THE PRODUCTION OF DOCUMENTS

         Advisory Trust Group, LLC, the Liquidating Trustee (“Liquidating Trustee”) under the

Debtor’s Second Amended Chapter 11 Plan of Liquidation and that certain Liquidating Trust

Agreement and Declaration of Trust, hereby moves (the “Motion”) this Court for entry of an

order pursuant to Bankruptcy Code section 542 and Rule 2004 of the Federal Rules of

Bankruptcy Procedure authorizing the Liquidating Trustee to conduct an oral examination of

Donald L. Bilgore (“Bilgore”) and directing Bilgore to turn over and produce all files that belong

to Rochester Drug Cooperative, Inc. (“Debtor” or “RDC”) from and after January 1, 2013,

including but not limited to board minutes, reports, correspondence and opinions, and meeting

notes. In support of the Motion, the Committee respectfully states as follows:



DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 1 of 20
                                   PRELIMINARY STATEMENT

         1.       Bilgore acted as the Debtor’s counsel for over forty-five years, since at least 1973,

and recently retired. Based on minutes of the Debtor’s Board of Directors, the Liquidating

Trustee understands that Bilgore intermittently acted as RDC’s corporate secretary, regularly

attended board meetings, and personally attended and/or participated in meetings of the Debtor’s

Board of Directors as well as numerous meetings with agents of the U.S. Drug Enforcement

Agency and its attorneys.

         2.       The Liquidating Trustee is informed and believes that Bilgore has retired and

remains in possession of critical records and legal files of RDC. By this Motion, the Liquidating

Trustee seeks entry of an order authorizing an oral examination of Bilgore and the turnover of all

records that belong to RDC, including attorney-client communications and attorney work

product, that are necessary to investigate the prepetition affairs of RDC.

                                         RELEVANT FACTS

         The Bankruptcy Case

         3.       On March 12, 2020 (the “Petition Date”), RDC commenced a voluntary case

under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). Prior to the

Petition Date, RDC was a distributor of pharmaceutical drugs that was owned and directed by

approximately 307 stockholding pharmacists and pharmacies.

         4.       RDC’s bankruptcy was precipitated by its consent to a Deferred Prosecution

Agreement and associated agreements entered on April 23, 2019 (collectively, the “DPA”) and a

$20 million fine in connection with the opioid crisis. In particular, RDC was charged with, and

stipulated to, a conspiracy to distribute controlled substances, conspiracy to defraud the

government, and knowing failure to furnish suspicious order reports to the Drug Enforcement

Administration (DEA).

                                                2
DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 2 of 20
         5.       On February 26, 2021, the Bankruptcy Court entered an order (the

“Confirmation Order”) confirming RDC’s Second Amended Chapter 11 Plan of Liquidation

dated January 15, 2021 (the “Plan”) which (along with that certain Liquidating Trust Agreement

and Declaration of Trust) established a liquidating trust (the “RDC Liquidating Trust”) to

collect and administer certain assets belonging to RDC (including Causes of Action as defined in

the Plan) and to file, settle, compromise, withdraw or litigate to judgment any Cause of Action.

The Effective Date of the Plan occurred on March 19, 2021. As of the Effective Date, pursuant

to the Confirmation Order, the Plan, and the Liquidating Trust Agreement, the Liquidating

Trustee was appointed as trustee of the RDC Liquidating Trust; and the Liquidating Trustee has

the exclusive right, power and interest to pursue, commence, prosecute, compromise, settle,

dismiss, release, waive, withdraw, and abandon or resolve all Causes of Action.

         Records in Bilgore’s Possession or Control

         6.       Bilgore was engaged as RDC’s corporate counsel since before January 1, 2013,

through his retirement in approximately mid-2019. Accordingly, the Liquidating Trustee

believes that Bilgore maintains attorney-client files of RDC (the “Attorney Files”).

         7.       The Official Committee of Unsecured Creditors and the Debtor have previously

engaged in an informal exchange of discovery regarding the Debtor’s prepetition operations and

financial affairs. The Debtor informally produced certain documents from its files including,

without limitation, available meeting minutes of the Debtor’s Board of Directors (“Board

Minutes”). However, certain Board Minutes remain missing and have not been produced

despite confirmation of the approval of such minutes, and related documents provided in

anticipation of the meetings (“Board Packets”), including financial and compliance reports and

presentations, remain missing and have not been produced. As corporate counsel who attended



                                              3
DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 3 of 20
board meetings, Bilgore’s Attorney Files should include copies of the Board Minutes and Board

Packets.

         8.       Based on available Board Minutes, the Liquidating Trustee is informed and

believes that beginning at least in June 2014, Bilgore met with DEA representatives and

attorneys from the Department of Justice regarding the DEA’s investigation of RDC, and

thereafter, Bilgore reported to RDC’s Board of Directors. The Liquidating Trustee seeks the

turnover and production of the Attorney Files, including notes, correspondence, and opinions

relating to the DEA investigation and oversight by RDC’s Board of Directors. The Attorney

Files are not protected by any privilege for purposes of production to the Liquidating Trustee.

         9.       Based on available public records, the Liquidating Trustee is informed that

Bilgore was admitted to practice law in the State of New York in 1952. To the extent that

physical files may be incomplete, an oral examination is appropriate to memorialize and preserve

Bilgore’s understanding of relevant events. The Liquidating Trustee believes that an order

authorizing an examination of Bilgore and directing the turnover and production of Attorney

Files pursuant to Bankruptcy Code section 542 and Bankruptcy Rule 2004 is necessary and

appropriate to fully investigate the Debtor’s prepetition affairs.

                                           JURISDICTION

         10.      This Court has subject matter jurisdiction to consider this matter pursuant to 28

U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicate for the

relief sought herein are sections 1103 and 1109(b) of the Bankruptcy Code and Bankruptcy Rule

2004.




                                               4
DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 4 of 20
                                       RELIEF REQUESTED

         11.      The Liquidating Trustee respectfully requests entry of an order pursuant to

Bankruptcy Code section 542 and Bankruptcy Rule 2004 directing Bilgore to appear for an oral

examination and to turn over and produce all Attorney Files of RDC.

                                        BASIS FOR RELIEF

    A. The Liquidating Trustee Is Entitled to Turnover of the Attorney Files, Including
       Work Product, Pursuant to Bankruptcy Code Section 542.

         12.      Bankruptcy Code section 542(a) requires that any entity holding property of the

estate on the date of bankruptcy filing deliver it to the trustee. Subsection (e) further provides:

“Subject to any applicable privilege, after notice and a hearing, the court may order an attorney,

accountant, or other person that holds recorded information, including books, documents,

records, and papers, relating to the debtor’s property or financial affairs, to turn over or disclose

such recorded information to the trustee.”

         13.      Pursuant to the Plan, all rights, powers, and privileges of the Debtor were

transferred to the Liquidating Trustee on the effective date of the Plan, including the attorney-

client privilege. As successor to RDC, the Liquidating Trustee is presumptively entitled to

access all of RDC’s legal files, including attorney-work product undertaken in connection with

and for the benefit of RDC. Gruss v. Zwirn, 296 F.R.D. 224, 229 (S.D.N.Y. 2013) (client has

presumptive right to access its entire file, including attorney interview notes); Sage Realty Corp.

v. Proskauer Rose Goetz & Mendelsoh LLP, 91 N.Y. 2d 30, 36-37 (1997) (order denying

production of internal memoranda, notes, and drafts sought by former client reversed); In re

American Metrocomm Corp., 274 B.R. 641, 663 (Bankr. D. Del. 2002) (granting turnover order

for production of attorney files under 542(e), including records given to attorneys by debtor and

prepared for debtor by attorneys in the course of performing services); In re Norsom Medical


                                                5
DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 5 of 20
Reference Laboratory, Inc., 10 B.R. 165, 168 (Bankr. N.D. Ill. 1981) (same; requested legal files

and documents not protected by work product doctrine or attorney-client privilege).

    B. The Liquidating Trustee Is Entitled to Production of the Attorney Files Pursuant to
       Bankruptcy Rule 2004(a).

         14.      In addition to the provisions of Bankruptcy Code section 542, Bankruptcy Rule

2004(a) provides that “[o]n motion of any party in interest, the court may order the examination

of any entity.” Bankruptcy Rule 2004(a). The general purpose of Rule 2004 is to “assist a party

in interest in determining the nature and extent of the bankruptcy estate, revealing assets,

examining transactions and assessing whether wrongdoing has occurred.” In re Recoton Corp.,

307 B.R. 751, 755 (Bankr. S.D.N.Y. 2004) (citation omitted); see also In re Lufkin, 255 B.R.

204, 208 (Bankr. E.D. Tenn. 2000) (Rule 2004’s purpose is to “determine the condition, extent,

and location of the debtor’s estate in order to maximize distribution to unsecured creditors”).

Rule 2004 “necessarily permits a broad investigation into the financial affairs of debtors to

assure the proper administration of bankruptcy estates.” In re Symington, 209 B.R. 678, 683-84

(Bankr. D. Md. 1997).

         15.      Unlike discovery under the Federal Rules of Civil Procedure, discovery under

Bankruptcy Rule 2004 can be used as a “pre-litigation discovery device.” In re Wilson, 2009

WL 304672, at *5 (Bankr. E.D. La. 2009); see also In re Hughes, 281 B.R. 224, 226 (Bankr.

S.D.N.Y. 2002). As such, a Bankruptcy Rule 2004 motion need not be tied to specific factual

allegations at issue between parties. In re Symington, 209 B.R. 678, 683 (Bankr. D. Md. 1997)

(Bankruptcy Rule 2004 permits “examination of any party without the requirement of a pending

adversary proceeding or contested matter”).

         16.      Moreover, the scope of a Bankruptcy Rule 2004 examination is broader than that

of discovery under the Federal Rules of Civil Procedure or related Bankruptcy Rules governing


                                              6
DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 6 of 20
adversary proceedings. In re Ecam Publications, Inc., 131 B.R. 556, 559 (Bankr. S.D.N.Y.

1991); see also In re Drexel Burnham Lambert Group, Inc., 123 B.R. 702, 711 (Bankr. S.D.N.Y.

1991) (“[T]he scope of a Rule 2004 examination is very broad. Rule 2004 discovery is broader

than discovery under the Federal Rules of Civil Procedure.”). In fact, courts have recognized

that Bankruptcy Rule 2004 examinations may be “broad” and “unfettered,” and can legitimately

be in the nature of a “fishing expedition.” In re Countrywide Home Loans, Inc., 384 B.R. 373,

400 (Bankr. W.D. Pa. 2008); see also In re Lev, 2008 WL 207523, at *3 (Bankr. D.N.J. 2008); In

re Bakalis, 199 B.R. 443, 447 (Bankr. E.D.N.Y. 1996); In re Bennett Funding Group, Inc., 203

B.R. 24, 28 (Bankr. N.D.N.Y. 1996) (Rule 2004’s purpose is to assist in “revealing the nature

and extent of the estate, and to discover assets of the debtor which may have been intentionally

or unintentionally concealed”); In re Valley Forge Plaza Assocs., 109 B.R. 669, 674 (E.D. Pa.

1990).

         17.      The decision whether to authorize discovery pursuant to Rule 2004 rests within

the bankruptcy court’s sound discretion. See, e.g., In re Hammond, 140 B.R. 197, 200 (Bankr.

S.D. Ohio 1992). Courts authorize discovery under Bankruptcy Rule 2004 to assist in recovering

assets for the benefit of a debtor’s creditors. See In re Vantage Petroleum Corp., 34 B.R. 650,

651 (Bankr. E.D.N.Y. 1983) (allowing discovery under Rule 2004 to help the debtor “discover

and recover assets for benefit of creditors of the debtor”).

         18.      Here, the requested relief is well within the scope of Bankruptcy Code section

542(e) and Bankruptcy Rule 2004(a). The Liquidating Trustee has a right to turnover of

recorded information “relating to the debtor’s property or financial affairs,” and a right to review

RDC’s legal files in order to fully investigate RDC’s prepetition affairs, including facts and




                                               7
DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 7 of 20
opinions rendered by RDC’s counsel. To date, Bilgore has not produced its Attorney Files in

this case (either in redacted or unredacted form).

    C. The Attorney Files Contain Vital Information That Is Necessary to the Liquidating
       Trustee’s Investigation of the Debtor’s Affairs.

         19.      RDC seeks an oral examination of Bilgore and turnover and production of the

Attorney Files, including all documents described in Exhibit A-1. The Attorney Files, including

notes and memoranda by Bilgore, are unique and not available from RDC’s own files.

         20.      RDC has produced available Board Minutes from January 1, 2013, but numerous

meeting minutes, including telephonically conducted meetings, are missing. In addition, certain

reports, attachments, and meeting handouts referenced in the Board Minutes are missing. The

Liquidating Trustee is entitled to a comprehensive set of Board Minutes and Board Packets with

all reports and attachments and any information that Bilgore may have relating thereto.

         21.      Bilgore communicated with attorneys from the Department of Justice at least as

early as June 2014 regarding RDC’s reporting to the DEA and compliance with regulations

regarding the sale and distribution of controlled substances. The Liquidating Trustee is entitled

to the production of (a) all communications between Bilgore and the DEA or its attorneys, (b) all

communications between Bilgore and RDC’s other attorneys regarding the DEA investigation,

and (c) all communications between Bilgore and RDC’s Board of Directors. In addition, the

Liquidating Trustee is entitled to relevant notes of meetings, memoranda, and opinions. These

documents are critical to investigating what was known to RDC and its Board of Directors, when

the relevant facts were available, and the reasonableness of the response. Furthermore, the

Liquidating Trustee is entitled to an oral examination of Bilgore to investigate his knowledge of

the Debtor’s affairs.




                                              8
DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 8 of 20
                                       NO PRIOR REQUEST

         22.      No prior request for the relief sought in this Motion has been made to this or any

other Court.

                                               NOTICE

         34.      Notice of this Motion has been given to (a) the U.S. Trustee; (b) the Oversight

Committee, (c) Donald L. Bilgore and Bilgore, Reich, Levine, Kroll & Kantor LLP, and (d) all

parties requesting notice of proceedings after the effective date of the Plan. In light of the nature

of the relief requested herein, the Liquidating Trustee submits that no other or further notice is

required.

         WHEREFORE, the Liquidating Trustee respectfully requests that this Court: (i) enter an

order substantially in the form attached hereto as Exhibit A, granting the relief sought herein,

including the production of Attorney Files described in Exhibit A-1; and (ii) granting such other

and further relief to the Liquidating Trustee as the Court may deem proper.



 Date: April 28, 2021                           PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ Ilan D. Scharf
                                                Ilan D. Scharf
                                                Gail S. Greenwood (admitted pro hac vice)
                                                780 Third Avenue, 34th Floor
                                                New York, NY 10017
                                                Telephone: (212) 561-7700
                                                Email: ischarf@pszjlaw.com
                                                           ggreenwood@pszjlaw.com

                                                Counsel to Advisory Trust Group, LLC, solely in its
                                                capacity as Liquidating Trustee of the RDC
                                                Liquidating Trust




                                               9
DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 9 of 20
                             EXHIBIT A
                               (Proposed Order)




                                  10
DOCS_SF:105327.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 10 of 20
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                                                                 )
  IN RE:                                                                                         )   Chapter 11
                                                                                                 )
  ROCHESTER DRUG CO-OPERATIVE, INC.,                                                             )   Case No. 20-20230 (PRW)
                                                                                                 )
                                                        Debtor.                                  )
                                                                                                 )

           ORDER GRANTING MOTION OF THE LIQUIDATING TRUSTEE FOR
         ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY CODE SECTION 542
           AND BANKRUPTCY RULE 2004 DIRECTING THE PRODUCTION OF
                       DOCUMENTS BY DONALD BILGORE

             This matter coming before the Court on the Motion of the Liquidating Trustee for Entry

of an Order, Pursuant to Bankruptcy Code Section 542 and Bankruptcy Rule 2004, Authorizing

an Oral Examination of Donald Bilgore and the Production of Documents (the “Motion”);1 the

Court having reviewed and considered the Motion and accompanying papers; the Court having

found that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

(ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and (iii) notice of the Motion as

described in the Motion was proper under the circumstances; and the Court having determined

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and after due deliberation and good and sufficient cause appearing therefor, it is hereby

ORDERED that

             1.            The Motion is GRANTED.

             2.            Donald L. Bilgore (“Bilgore”) is directed to (a) appear for an oral examination

pursuant to Bankruptcy Rule 2004 on June 16, 2021, or on such other date as the parties may

agree, and (b) produce to the Liquidating Trustee the records described in Exhibit A-1 hereto



1 Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.




DOCS_SF:105327.2 75015/003
   Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                    Description: Main Document , Page 11 of 20
within thirty days of entry of this Order. A copy of this Order shall be served on Bilgore or his

counsel pursuant to a form of Subpoena for Rule 2004 Examination.

         3.       Nothing contained herein shall prejudice the Liquidating Trustee’s rights under

Bankruptcy Code section 542 and/or Bankruptcy Rule 2004 and other applicable laws to seek

further document productions and written and oral examinations in connection with the case.

         4.       The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.



 Dated: Rochester, New York                _______________________________________
        _____________, 2021                THE HONORABLE PAUL R. WARREN
                                           UNITED STATES BANKRUPTCY JUDGE




DOCS_SF:105327.2 75015/003                     2

  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 12 of 20
                          EXHIBIT A-1




Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                 Description: Main Document , Page 13 of 20
                                            EXHIBIT A-1


                                          INSTRUCTIONS
         1.       Documents shall be produced in exactly the manner in which they were found,

including file folders, tabulations or other forms or manner of organization. Further, all

attachments to the documents, whether stapled, paper-clipped, electronically attached, or

otherwise affixed, shall be produced and shall be attached to the documents to which they relate

in exactly the same manner in which they were found. All copies of documents or items that are

not identical to the originals by reason of handwritten comments, marginal notations, underlining

or otherwise shall be produced in addition to the originals.

         2.       All Documents should be produced that are in your possession, custody or

control, including documents in the possession, custody, or control of your attorneys,

investigators, agents, employees, officers, accountants, independent contractors, subcontractors,

consultants, experts or other representatives.

         3.       You are required to make a diligent search for all available Documents within

your actual and constructive possession, custody or control, and not merely such Documents

within the personal possession of the individual answering these Requests.

         4.       If there are no Documents in existence that are responsive to a particular Request,

your response must include a statement to that effect. If Documents once existed in your

possession, custody or control, but are no longer in your possession, custody or control for any

reason, please identify the specific circumstances under which you lost possession, custody or

control, and identify your understanding of the documents’ current whereabouts, or the manner

in which you disposed of the Documents.

         5.       Electronically stored information (“ESI”) responsive to these Requests shall be

produced in the same manner in which it is stored, together with all associated metadata. If

software not in normal, typical commercial use is necessary to view the ESI produced in full,




DOCS_SF:105341.1 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 14 of 20
native and usable form with full functionality, then a copy of or license to the necessary software

shall be produced together with the ESI.

         6.       Where the context permits, a term’s singular form shall include its plural form,

and a term’s plural form shall include its singular.

         7.       If any of the requested Documents within the scope of this Request have not been

produced on grounds that such documents are privileged, immune or trade secrets, please

provide the following information as to each document to which such claim is made: (a) the

privilege that is grounds for withholding the Document; (b) the nature of the Document (i.e.,

letter, spreadsheet, memorandum); (c) the date that the Document was prepared; (d) the

name/title of the author; (e) the name/title of each recipient or addressee of the Document; (f) the

number of pages withheld; and (g) the name and location of the current custodian of the

Document.

         8.       Unless otherwise stated, each Request seeks Documents from January 1, 2013

through present.

                                           DEFINITIONS

         A.       “ATTORNEY FILES” means all documents received by, relating to, or prepared

for the Debtor in connection with legal services provided to the Debtor.

         B.       “BOARD PACKETS” means all documents circulated to the Board of Directors

in connection with and/or anticipation of a meeting of the Board of Directors.

         C.       “DEBTOR” means Rochester Drug Cooperative, Inc., its agents, affiliates,

employees, representatives, and/or attorneys.

         A.       “DOCUMENT” or “DOCUMENTS” is used in the broadest sense possible and

means any printed, written, typed, recorded, transcribed, taped, or photographic matter, however

produced or reproduced, including, but not limited to, the following: (i) any electronically stored

information; (ii) any letter, correspondence, electronic mail or communication of any sort; (iii)

film, negative or photograph; (iv) sound recording or video recording; (v) note, notebook, diary,

calendar, minutes, memorandum, contract, agreement, or any amendment thereto; (vi) facsimile


DOCS_SF:105341.1 75015/003              2
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 15 of 20
transmission; (vii) summary, report, or record of telephone conversation, personal conversation,

discussion interview, meeting, conference, investigation, negotiation, act or activity; (viii)

projection, work paper, or draft; (viii) financial statement, statement of account, bank statement,

check book, stubs or register, cancelled check, deposit slip, charge slip, tax return (income or

other), or requisition; (ix) file, study, graph, tabulation, and any and all other writings and

recordings of whatever nature, whether signed or unsigned or transcribed; (x) any other data

compilation from which information can be obtained, translated, recalled, viewed, and/or edited

by the respondent through detection devices into reasonably usable form.

         D.       “REFLECTING” or “RELATING TO” means that the requested document or

information evidences, constitutes, embodies, comprises, reflects, identifies, states, deals with,

comments on, responds to, describes, analyzes, contains information concerning, summarizes, or

is in any way pertinent to the information requested.

         E.        “YOU” or “YOUR” means Donald L. Bilgore, the law firm of Bilgore, Reich,

Levine, Kroll & Kantor LLP its employees, representatives, and/or attorneys.

                                  DOCUMENTS REQUESTED

         1.       All ATTORNEY FILES, including electronic and written communications, notes,

memoranda, and opinions prepared on or after January 1, 2013.

         2.       All minutes of meetings of the DEBTOR’S Board of Directors, including, without

limitation, those RELATING TO the following dates: 3/26/2018, 4/17/2018, 7/31/2018,

8/28/2018, 9/4/2018, 9/10/2018, 9/26/2018, 10/4/2018, 10/6/2018, 1/15/2019, and 2/15/2019.

         3.       All BOARD PACKETS circulated on or after January 1, 2013, including agendas,

financial and compliance reports, and presentations.

         4.       All communications between YOU and one or more members of the DEBTOR’s

Board of Directors.

         5.       All DOCUMENTS RELATING TO the investigation(s) of the DEBTOR by the

Drug Enforcement Agency.




DOCS_SF:105341.1 75015/003              3
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 16 of 20
         6.       All communications between YOU on behalf of the DEBTOR and representatives

or attorneys for the Drug Enforcement Agency or the U.S. Department of Justice, including,

without limitation, Jeffrey Powell, Jacob Bergman, or Louis Pellegrino.

         7.       All DOCUMENTS RELATING TO meetings between the DEBTOR (or YOU on

behalf of the DEBTOR) and representatives or attorneys from the Drug Enforcement Agency or

the U.S. Department of Justice, including notes, memoranda, and calendar entries.

         8.       All communications between YOU and representatives or attorneys of Hyman,

Phelps & McNamara, P.C. RELATING TO the DEBTOR.

         9.       All DOCUMENTS RELATING TO the DEBTOR’S creation and oversight of

internal procedures for the distribution of controlled substances (pursuant to 21 C.F.R. 1301.74,

among other regulations), including, without limitation all compliance reports by auditors,

consultants, or employees of the DEBTOR.

         10.      All reports or communications RELATING TO the DEBTOR authored by or

received from: Carlos Aquino, Daniel White, Mike Kody, or Julius Morton.




DOCS_SF:105341.1 75015/003              4
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 17 of 20
Ilan D. Scharf, Esq. (NY Bar No. 4042107)
Gail S. Greenwood, Esq. (Admitted pro hac vice)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777

Counsel to Advisory Trust Group, LLC,
solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                           )
 IN RE:                                                    )   Chapter 11
                                                           )
 ROCHESTER DRUG CO-OPERATIVE, INC.,                        )   Case No. 20-20230 (PRW)
                                                           )
                               Debtor.                     )
                                                           )

           NOTICE OF HEARING ON MOTION OF THE LIQUIDATING TRUSTEE
            FOR ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY CODE
              SECTION 542 AND BANKRUPTCY RULE 2004 AUTHORIZING
                AN ORAL EXAMINATION OF DONALD BILGORE AND
                        THE PRODUCTION OF DOCUMENTS

        PLEASE TAKE NOTICE that Advisory Trust Group, LLC, the Liquidating Trustee

under the Debtor’s Second Amended Chapter 11 Plan of Liquidation and that certain Liquidating

Trust Agreement and Declaration of Trust, filed the Motion of the Liquidating Trustee for Entry

of an Order Pursuant to Bankruptcy Code Section 542 and Bankruptcy Rule 2004 Authorizing

and Oral Examination of Donald Bilgore and the Production of Documents (the “Motion”),

requesting an oral examination of Donald L. Bilgore (“Bilgore”) and directing Bilgore to turn

over and produce all files that belong to Rochester Drug Cooperative, Inc. from and after

January 1, 2013, including but not limited to board minutes, reports, correspondence and

opinions, and meeting notes.




DOCS_LA:337570.2 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 18 of 20
        PLEASE TAKE FURTHER NOTICE THAT a hearing to consider the Motion shall be

held on May 20, 2021 at 9:00 a.m. (prevailing Eastern Time) before the Honorable Paul R.

Warren, United States Bankruptcy Judge, at the United States Bankruptcy Court for the Western

District of New York, United States Courthouse, 100 State Street, Rochester, New York 14614.

        PLEASE TAKE FURTHER NOTICE that all affidavits and memoranda in opposition

to the relief requested, if any, shall be in writing and shall be filed with the Clerk’s Office,

United States Bankruptcy Court for the Western District of New York (Rochester Division) and

served upon the undersigned counsel so as to be received no later than 72 hours prior to the

hearing to consider the Motion.



 Date: April 28, 2021                          PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ Ilan D. Scharf
                                               Ilan D. Scharf
                                               Gail S. Greenwood (admitted pro hac vice)
                                               780 Third Avenue, 34th Floor
                                               New York, NY 10017
                                               Telephone: (212) 561-7700
                                               Email: ischarf@pszjlaw.com
                                                          ggreenwood@pszjlaw.com

                                               Counsel to Advisory Trust Group, LLC, solely in its
                                               capacity as Liquidating Trustee of the RDC
                                               Liquidating Trust




DOCS_LA:337570.2 75015/003                     2

  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 19 of 20
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                            )
IN RE:                                                      )   Chapter 11
                                                            )
ROCHESTER DRUG CO-OPERATIVE, INC.,                          )   Case No.20-20230 (PRW)
                                                            )
                                Debtor.                     )
                                                            )

                                  CERTIFICATE OF SERVICE

STATE OF CALIFORNIA   )
                      )
COUNTY OF LOS ANGELES )


         I, Nancy H. Brown, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is

10100 Santa Monica Blvd., 13th Fl., Los Angeles, CA 90067.

         On April 28, 2021, I caused to be served a true and correct copy of MOTION OF

THE LIQUIDATING TRUSTEE FOR ENTRY OF AN ORDER PURSUANT TO

BANKRUPTCY CODE SECTION 542 AND BANKRUPTCY RULE 2004

AUTHORIZING AN ORAL EXAMINATION OF DONALD BILGORE AND THE

PRODUCTION OF DOCUMENTS via the Court’s ECF system.

         I declare under penalty of perjury, under the laws of the State of California and the

United States of America that the foregoing is true and correct.

         Executed this 28th day of April, 2021 at Los Angeles, California.


                                                       /s/ Nancy H. Brown
                                                       Nancy H. Brown




DOCS_LA:337589.1 75015/003
  Case 2-20-20230-PRW, Doc 1329, Filed 04/28/21, Entered 04/28/21 12:16:51,
                   Description: Main Document , Page 20 of 20
